Case 2:20-cv-09091-PA-AS Document 116-1 Filed 10/08/21 Page 1 of 2 Page ID #:6252



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 9
10                             UNITED STATES DISTRICT COURT

11                            CENTRAL DISTRICT OF CALIFORNIA

12
13   THRIVE NATURAL CARE, INC.                   Case No. 2.20-cv-9091-PA-AS

14               Plaintiff,                      DECLARATION OF ROLLIN A
                                                 RANSOM IN SUPPORT OF
15         v.                                    DEFENDANT THRIVE
                                                 CAUSEMETICS, INC.’S
16   THRIVE CAUSEMETICS, INC.,                   UNOPPOSED EX PARTE
                                                 APPLICATION TO STRIKE
17               Defendant.                      PLAINTIFF’S JURY DEMAND AND
                                                 TO BRIEFLY CONTINUE THE
18                                               TRIAL DATE

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         DECLARATION OF ROLLIN A. RANSOM IN SUPPORT OF DEFENDANT’S UNOPPOSED EX PARTE
      APPLICATION TO STRIKE PLAINTIFF’S JURY DEMAND AND TO BRIEFLY CONTINUE THE TRIAL DATE
Case 2:20-cv-09091-PA-AS Document 116-1 Filed 10/08/21 Page 2 of 2 Page ID #:6253



 1                        DECLARATION OF ROLLIN A. RANSOM
 2         I, Rollin A. Ransom, declare and state as follows:
 3         1.       I am an attorney at law licensed to practice before all of the Courts of the
 4   State of California and admitted to practice in this District. I am a partner at the law
 5   firm of Sidley Austin LLP, counsel of record for Defendant Thrive Causemetics, Inc.
 6   (“TCI”) in this action, and submit this declaration in support of TCI’s Unopposed Ex
 7   Parte Application to Strike Plaintiff Thrive Natural Care, Inc.’s (“Plaintiff”) Jury
 8   Demand and to Briefly Continue the Trial Date (the “Application”). I have personal
 9   knowledge of the following facts and, if called and sworn as a witness, could and
10   would competently testify thereto.
11         2.       On October 8, 2021, I spoke with Stephen McArthur, counsel for
12   Plaintiff, by telephone regarding TCI’s intent to file an ex parte application.
13   Specifically, I informed Plaintiff’s counsel that TCI intended to file an ex parte
14   application to strike Plaintiff’s demand for a jury trial in light of the Court’s October
15   6, 2021 order granting in part and denying in part TCI’s motion for summary
16   judgment, which eliminated Plaintiff’s claims for reasonable royalty and corrective
17   advertising damages such that there were no remaining issues in the case to be tried to
18   a jury. I further informed Plaintiff’s counsel that TCI intended to file the application
19   on either October 8 or 11, 2021.
20         3.       Plaintiff’s counsel informed me that Plaintiff does not oppose the
21   Application.
22         I declare under penalty of perjury under the laws of the United States that the
23   above facts are true and correct, and that this declaration was executed this 8th day of
24   October 2021, in Los Angeles, California.
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26                                                  /s/ Rollin A. Ransom
                                                    Rollin A. Ransom
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                                                  -2-
         DECLARATION OF ROLLIN A. RANSOM IN SUPPORT OF DEFENDANT’S UNOPPOSED EX PARTE
      APPLICATION TO STRIKE PLAINTIFF’S JURY DEMAND AND TO BRIEFLY CONTINUE THE TRIAL DATE
